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                            UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF OKLAHOMA

IAN RUPERT,                                      )
                                                 )
              Plaintiff,                         )
                                                 )
v.                                               )       Case No. CIV-21-465-J
                                                 )
CREDIT CONTROL, LLC, et al.,                     )
                                                 )
              Defendants.                        )

                                            ORDER

       The Court notes that Victor R. Wandres, counsel for Plaintiff, has failed to file an entry of

appearance as required by LCvR 83.4. Such entry shall be filed within three days of this Order.

       IT IS SO ORDERED this 2nd day of September, 2021.
